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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                     Portland Division
In re the Application of:


ANDREW CHARLES NESBIT                                            No. 3:23-cv-00850-IM
                             Petitioner




SPIRIT ROSE BRIDGER,                              PETITIONER’S TRIAL MEMORANDUM
                             Respondent
                             _________________________________


                    The Convention on the Civil Aspects of International Child Abduction,
                                    done at the Hague on 25 Oct. 1980
                    International Child Abduction Remedies Act, 22 U.S.C. § 9001 et seq.
              COMES NOW Petitioner, ANDREW CHARLES NISBET by and through

       his counsel of record, Bradley C. Lechman-Su and submits the following Trial

       Memorandum for the Pretrial conference October 13 at 3:00 pm and the three-

       day bench trial scheduled for October 16, 17 &18, 2023, before the Hon. Karin J.


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     Immergut.


                            SYNOPSIS OF PETITIONER’S CASE

            The Petitioner, by filing this Hague Convention return case, shows that he

     seeks a return to the status quo before the Wrongful Removal and retention

     which is the children living with him in Scotland, UK.

            This Court has before it an truly unique, complex case. First, the chief

     remedy available under the Hague Convention, a return, or the denial of a return

     by itself is entirely insufficient. While most family law cases are tough to resolve,

     the international milieu, the young ages of the children and the particular

     circumstances of this matter are singular, unique, and tragic and in combination

     they render this case as difficult as is imaginable. While not on par with the

     enormity equal to the massive and seemingly irresolvable tragic cases of such

     international injustice as apartheid or mass displacement , taking the difference

     in scale into consideration this case is as difficult as it gets.

            Still, even though this is a family law case, the remedy usually available to

     a case with these facts of a parental fatality is missing, that is in the Juvenile

     Justice or Court Context, a termination of parent rights or TPR may be available,

     which is more of a remedy available to those who just want to run away and deny

     the grief. TPR is not available in this legal context anyway. After a Hague trial

     there may be nothing left to do except pickup the pieces and try to make the best

     of it. There is no custody or family law case pending in circuit court.

            Opening Statement Focused on Hague Convention Issues.

            If the Hague trial results in a denial of return due to the court’s decision



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       that return of the children to Scotland to reside with Father would constitute an

       imminent grave risk of harm, then the relief father requests could be denied, and

       the remaining family members would be subject to local domestic relations

       remedies. Or if there is a grave risk, an undertaking or remedy addressing the

       threat could be ordered by the court. It must be acknowledged mental health

       uncertainties still do exist until evidence comes to light (and that is expected) that

       is no longer a risk. At this point that is what psychological assessments have

       determined. There has not been an official final word. There are many

       uncertainties.

                             GENERAL STATEMENT OF THE LAW

        The Hague Convention was adopted “in response to the problem of international

child abductions during domestic disputes.” Abbott v. Abbott, 130 S.Ct. 1983, 1989

(2010). It was enacted “to protect children internationally from the harmful effects of

their wrongful removal or retention and to establish procedures to ensure their prom pt

return to the state of their habitual residence.” Hague Convention, Preamble. The

Hague Convention’s “primary purpose is to restore the status quo and deter parents

from crossing international borders in search of a more sympathetic court.”

Nunez–Escudero v. Tice–Menley, 58 F.3d 374, 376 (8th Cir.1995).

                          STATEMENT OF RELEVANT FACTS

       The parties, are the ummarried parents of a 5 and 7 year old. There is no

custody or parentage case filed, and the factual issue of a habitual residence is not

established. The date for calculating time for purposes of UCCJEA jurisdiction (chils

custody jurisdiction) is not yet determined.



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      Filing of a parentage or custody case may follow and without a status quo case

having been filed this family may again be engaged in litigation.



                     BACKGROUND OF THE APPLICABLE LAW

   1. Subject Matter Jurisdiction.

             This case comes before the court under ICARA which is the codification of

the Hague, which vests the district court with federal question jurisdiction under 22

U.S.C § 9003(a). It invokes an international treaty, the Hague Convention on the Civil

Aspects of International Child Abduction of Oct. 25, 1980, T.I.A.S. No. 11670, 1343

U.N.T.S. 89, reprinted in 51 Fed. Reg. 10494 (March 26, 1986). The implementing

legislation is codified as the International Child Abduction Remedies Act ("ICARA"), 22

U.S.C. § 9001 et seq. See: Holmes v. Laird, 459 F.2d 1211, 1220, 1222 (D.C. Cir.

1972). "Treaties made, or which shall be made, under the Authority of the United

States, shall be the supreme Law of the Land." U.S. CONST., art. VI, cl. 2. In the U.S.,

applicable treaties are binding upon federal courts to the same extent as are domestic

statutes. 28 U.S.C § 1331. In addition, an action under ICARA m ay be filed in either

state or federal court, as ICARA allows for concurrent jurisdiction.

   2. General Provisions.

             Intended as a return remedy only, an action under the Hague Convention

is not intended (nor allowed) to be a hearing on the merits of any underlying child

custody claims. 22 U.S.C. § 9001(b)(4); Hague Convention, arts. 16 and 19. Rather the

Hague Convention and ICARA merely “govern[ ] selection of the forum where such a

[custody] dispute should be brought.” Stern v. Stern, 639 F.3d 449, 451 (8th Cir. 2011).



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             The Convention seeks to deter abduction by "depriv[ing] [the abductor's]

actions of any practical or juridical consequences." Elisa Pérez-Vera, Explanatory

Report, in 3 Hague Conference on Private Int'l Law, Acts and Documents of the

Fourteenth Session, Child Abduction 426, 429 (1982) (" Pérez-Vera Report"); Mozes v.

Mozes, 239 F.3d 1067, 1070 (9th Cir. 2001). Further, “[t]he f unction of a court applying

the Convention is not to determine whether a child is happy where it currently is, but

whether one parent is seeking unilaterally to alter the status quo with regard to the

primary locus of the child's life.” Mozes v. Mozes, 239 F.3d 1067, 1079 (9th Cir. 2001).

             To effectuate its goal, the Convention seeks “to secure the prompt return

of children wrongfully removed to or retained in any Contracting State,” and “to ensure

the rights of custody and of access under the law of one Contracting State are

effectively respected in other Contracting States.” Hague Convention, art. 1. The

central operating feature of the Hague Convention is the return remedy. Abbott, 130

S.Ct. at 1989.

             In interpreting Hague Convention provisions, federal courts should

consider international decisions and implementing legislation. “We should give

considerable weight to these well-reasoned opinions of other Convention signatories.”

Nunez- Esqudero v. Tice-Menley, 58 F.3d 374, 377 (8th Cir. 1995).


                        RELIEF REQUESTED BY PETITIONER

      Petitioner respectfully requests an order and judgment granting the Verified

Petition for Return of Child to Habitual Residence. This would include an order for the

immediate return of the minor children, to their Habitual Residence, Scotland.

      THE HAGUE CONVENTION PRIMA FACIE CASE



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   1. Elements of the Prima Facie Case.

              To establish a prima facie case for the return of the child under the

Hague Convention, the petitioner must show, by a preponderance of the evidence,

that: (1) immediately prior to removal or retention, the child habitually resided in

another Contracting State; (2) the removal or retention was in breach of the petitioner’s

custody rights under that State’s law; and (3) the petitioner was exercising those

custody rights at the time of the removal or wrongful retention. Hague Convention, arts.

3, 4, 5; see, Mozes v. Mozes, 239 F.3d 1067, 1070 (9th Cir. 2001).

              The “obligation” of a state’s tribunal hearing a Hague Convention case,

where the prima facie case is satisfied, is mandatory return pursuant to Articles 3 and

12 (first paragraph) and 22 U.S.C. § 9003(d), unless a discretionary defense to return

is proven. The discretionary defenses to return are provided in Articles 12, 13, and 20

of the Hague Convention. The prima facie case for return must be proven by the

petitioner by a preponderance of the evidence. 22 U.S.C § 9003(e)(1)(A).

   2. Petitioner’s Prima Facie Case of Wrongful removal.

              (A) Scotland is the habitual residence of the minor children pursuant to

                   the governing analysis articulated by the United States Supreme

                   Court in Monasky v. Taglieri, 140 S.Ct. 719 (2020). That conclusion

                   is be one of the chief findings the court would need to make.

              (B) Petitioner has rights of custody regarding the minor child within the

                   meaning of Articles Three and Five of the Convention in that the

                   Children’s Act , which is the law of the habitual residence, provides

                   for rights of custody when the left behind parent contiues, as



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               Petitioner did, to exercise his parental rights, under these

               circumstances.

          (C) Petitioner was actually exercising, or would have been exercising,

               custody rights of the minor children at the time of the wrongful

               removal of the minor children from Scotland to the US by

               Respondent.

          (D) The wrongful removal of the minor children from Oregon by

               Respondent breached Petitioner’s rights of custody under the laws of

               Scotland (the minor children’s habitual residence), in that it has

               denied Petitioner physical contact with the minor children and the

               right to participate in significant parenting issues, including

               participating in the decision as to where the child will reside.

          (E) The minor children have not attained the age of sixteen (16) years.

          (F) Respondent will deny he consented to removal of the children

               defense of consent under Article 13(a) of the Convention.

          (G) As already asserted there does not exist any grave risk that the minor

               child’s return to Scotland would expose the minor child to physical or

               psychological harm or otherwise place the minor children in an

               intolerable situation [the “grave risk or harm” defense under Article

               13(b) of the Convention. There have been recent episodes of

               psychological testing which indicate the petitioner is not a danger to

               these children.

                                 3.The Convention Text.




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                                 It is not applicable in the circumstances of this case, but

                         Article 13 of the Hague Convention states: "The judicial or

                     administrative authority may also refuse to order the return of the

                       child if it finds that the child objects to being returned and has

                    attained an age and degree of maturity at which it is appropriate to

                    take account of its views." (emphasis added). The party raising the

                   defense has the burden of proof and must establish the defense by a

                        preponderance of the evidence. 22 U.S.C. § 9003(e)(2)(B).

                                               CONCLUSION

       Under the Hague Convention and ICARA, a district court has the authority to

determine the merits of an abduction claim, but not the merits of the underlying custody

claim. Here, the Court can satisfy the purpose of the Hague Convention by returning

the children to Petitioner.

             Respectfully submitted

                      s/ Bradley C. Lechman-Su


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              A true copy of this document was sent to Respondent’ attorney Katrina Seipel
              on October 10, 2023.
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                    Attorney for Petitioner




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